                     Case 4:11-cr-00098-DPM                     Document 196             Filed 10/09/12           Page 1 of 6
A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet I
                                                                                                                           FILED
                                                                                                                        U.S. DISTRICT COURT
                                                                                                                    EAsre 8Na, 8rc'cr oer'"R's


                                          UNITED STATES DISTRICT COURT
                                                                                                            JAMES
                                                            Eastern District of Arkansas
                                                                                                            By: _ __..:..s....;~¥-~~==~
                                                                        )
             UNITED STATES OF AMERICA                                     )
                                  v.                                      )
                   ERIC JOHN GRODZICKI                                    )
                                                                          )        Case Number: 4: 11-cr-98-DPM-3
                                                                          )        USM Number: 26376-009
                                                                          )
                                                                          )        J. Brooks Wiggins
                                                                                   Defendant's Attorney
THE DEFENDANT:
ij('pleaded guilty to count(s)         One of the Superseding Information.

0 pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended
21 usc §§ 846;

 841(a)(1) & -(b)(1)(B)            Conspiracy to possess with intent to distribute marijuana,

                                                                                   a Class B felony          11/18/2010                  1

       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
OCount(s)                                                0 is      0 are dismissed on the motion of the United States.
               -------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cllanges in economic circumstances.

                                                                           9/27/2012
                                                                          Date oflmposition of Judgment




                                                                          Signature of Judge                 (/




                                                                              D.P. Marshall Jr.                         U.S. District Judge
                                                                           Name and Title of Judge




                                                                           Date
                        Case 4:11-cr-00098-DPM                    Document 196      Filed 10/09/12          Page 2 of 6
AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                     Judgment- Page _.:::::2_ of   6
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4:11-cr-98-DPM-3


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 ONE MONTH.




    ilf The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends commitment to a facility near Tucson, Arizona, to facilitate visits by family and friends who live there.




    0     The defendant is remanded to the custody of the United States Marshal.

    ~ The defendant shall surrender to the United States Marshal for this district:
          0     at      12:00
                      -------------------
                                                       0   a.m.    ri/ p.m.    on   10/26/2012
          0     as notified by the United States Marshal.

    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

 a _____________________________ , with a certified copy ofthisjudgment.



                                                                                                  UNITED STATES MARSHAL



                                                                              By ------======~~~==~~~~-----
                                                                                       DEPUTY UNITED STATES MARSHAL
                        Case 4:11-cr-00098-DPM                  Document 196            Filed 10/09/12           Page 3 of 6
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3- Supervised Release
                                                                                                            Judgment-Page       3    of        6
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4: 11-cr-98-DPM-3
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 2YEARS.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
rt/ future
    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

0        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as direc~ed by the probation offi~er, the Burea1;1 of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)

0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view ofthe probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permissiOn of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                   Case 4:11-cr-00098-DPM              Document 196           Filed 10/09/12         Page 4 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                 Judgment-Page    4      of          6
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4: 11-cr-98-DPM-3

                                         SPECIAL CONDITIONS OF SUPERVISION
 1) Grodzicki is not a legal resident of this district. Supervision will take place in the district where he resides or a district
 where a suitable release plan has been developed.

 2) Grodzicki must spend SIXTY DAYS of his supervised release in intermittent confinement, either in a jail or a
 residential-reentry setting as directed by the U.S. Probation Office.
                     Case 4:11-cr-00098-DPM                    Document 196               Filed 10/09/12      Page 5 of 6
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                      5_ of
                                                                                                     Judgment- Page _ _                 6
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4:11-cr-98-DPM-3
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                           Restitution
TOTALS             $ 100.00                                           $                                 $



D    The determination of restitution is deferred until
                                                              ---
                                                                          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately pro}>ortioned P.a~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                                               Total Loss*        Restitution Ordered Priority or Percentage




 TOTALS                              $                         0.00            $                    0.00
                                         ---------                                 ---------

 D    Restitution amount ordered pursuant to plea agreement $
                                                                          --------------------
 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the            D fme         D restitution.
      D the interest requirement for the              D fme    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
 Septemoer 13, 1994, but before April23, 1996.
                     Case 4:11-cr-00098-DPM                     Document 196               Filed 10/09/12            Page 6 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                               Judgment- Page    _.=6_ of                6
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4:11-cr-98-DPM-3

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ _10_0_.0_0____ due immediately, balance due
           0     not later than
                                   ----~--~---
                                                                     , or
           0     in accordance           0    C,      0    D,   0      E, or     0 F below; or
B     0    Payment to begin immediately (may be combined with                  0 C,       0 D, or       0 F below); or
C     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     rl/ Special instructions regarding the payment of criminal monetary penalties:
            The Court does not impose a fine because Grodzicki is unable to pay one, even on a reasonable installment
            schedule.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All crnninal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.                                                  ·




 0    The defendant shall pay the cost of prosecution.

 0    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
